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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,                            Case No. 1:23-mj-20235-PTM-1
                                                     Hon. Thomas L. Ludington
              Plaintiff,

-vs-

RANDALL ROBERT BERKA, II

          Defendant.
___________________________________/




                       DEFENDANT, RANDALL BERKA'S
                   MOTION FOR APPOINTMENT OF AN EXPERT
                     FOR A PSYCHOLOGICAL EVALUATION



1.      That after an arraignment on the Superceding Indictment which added felony charges
        the Defendant has asserted an insanity defense pursuant to 18 USC 4242.

2.      That this counsel was hired with money loaned to the Defendant by his mother who
        now has been charged in the Superceding Indictment and who no longer will be able
        to provide money to Mr. Berka for his defense and no funds have been advanced to
        this counsel for experts or a jury trial.

3.      That Mr. Berka has no funds available with which he could hire an expert to conduct a
        forensic evaluation and perhaps testify at trial.

4.      That this counsel believes after reviewing the discovery material and having four
        meetings with Mr. Berka that Mr. Berka has a mental condition which may meet the
        federal standard of an insanity showing at trial.
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5.    That Defendant has a substantial mental health history having been involuntarily
      committed by the Saginaw County Probate Court in 2012.

6.    That Dr. Jeffrey Wendt, a forensic psychologist from whose address is PO Box
      26282, Lansing, Michigan 48909, who has federal court experience as an expert
      witness has agreed to accept a court assignment.

7.    That he has unsuccessfully sought a concurrence with the US Attorney to enter a
      stipulated order for a forensic evaluation.

                        BRIEF IN SUPPORT OF MOTION
                      FOR APPOINTMENT OF AN EXPERT
                     FOR A PSYCHOLOGICAL EVALUATION

      FRE.706 (a) provides for the appointment of an expert witness to assist a party on

presenting his defense. The Defendant has a 6th Amendment right to present his defense and

with the appointment of counsel if necessary. Holmes v South Carolina, 547 U.S. 319

(2006). Defendant relies upon this authority in making his request.

Dated: September 21, 2023                    Respectfully submitted,
                                             s/Robert J. Dunn______________________
                                             ROBERT J. DUNN, P33726
                                             Attorney for Defendant

                             CERTIFICATE OF SERVICE

      I hereby certify that on September 21, 2023, I electronically filed the Motion for

Appointment of an Expert for a Psychological Evaluation and Brief in Support and served

all parties on this case and mailed copies to Randall Berka, the Defendant, at the Saginaw

County Jail.

Dated: September 21, 2023                    s/ Cynthia L. Eigner
                                             Legal Asst. for Robert J. Dunn
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